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6                                 IN THE UNITED STATES DISTRICT COURT
7                              FOR THE EASTERN DISTRICT OF CALIFORNIA
8
9    UNITED STATES OF AMERICA,                      )    NO. C.R.F-04-5171 AWI
                                                    )
10                         Plaintiff,               )    Appellate Case No. 06-10368
                                                    )
11          v.                                      )
                                                    )    ORDER UNSEALING DOCUMENTS
12   LUIS CASTENEDA ORTEGA,                         )
                                                    )
13                         Defendant.               )
                                                    )
14                                                  )
     _______________________________                )
15
                                                        ORDER
16
            GOOD CAUSE HAVING BEEN SHOWN, IT IS ORDERED THAT the records listed below be
17
     conditionally unsealed, and a copy provided to appellate counsel.
18
19       Docket Number                            Sealed Event                           Date
                  51            SEALED EVENT (Order) (Balli, R) (Entered:              7/01/2005
20                              07/01/2005)
21                73            SEALED EVENT (Lundstrom, T) (Entered:                  4/11/2005
                                04/11/2006)
22
                  74            SEALED EVENT (Lundstrom, T) (Entered:                  4/11/2005
23                              04/11/2006)

24                77            SEALED EVENT (Lundstrom, T) (Entered:                  4/12/2005
                                04/12/2006)
25                78            SEALED EVENT (Lundstrom, T) (Entered:                  4/12/2005
                                04/11/2006)
26
                  125           SEALED EVENT (Hellings, J) (Entered:                   4/27/2007
27                              04/30/2007)
28
              Case 1:04-cr-05171-AWI Document 161 Filed 08/29/07 Page 2 of 2


1       Docket Number                          Sealed Event                           Date
2              126           SEALED EVENT (Hellings, J) (Entered:                   4/27/2007
                             04/30/2007)
3
4         These records shall remain sealed and not made available to the public.
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6    IT IS SO ORDERED.
7    Dated:    August 27, 2007                      /s/ Anthony W. Ishii
8    0m8i78                                   UNITED STATES DISTRICT JUDGE

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